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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLORADO

  Civil Action No. 1:22-cv-01129

  ERIC COOMER, PhD.,

        Plaintiff

  v.

  MICHAEL J. LINDELL, FRANKSPEECH LLC,
  AND MY PILLOW, INC.,

        Defendants


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